USCA Case #22-3042    Document #2072856        Filed: 09/03/2024       Page 1 of 3



                                          U.S. Department of Justice

                                          Matthew M. Graves
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                                          Patrick Henry Building
                                          601 D Street, NW
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                                          September 3, 2024

Mark J. Langer, Clerk
United States Court of Appeals
for the District of Columbia Circuit
333 Constitution Avenue, N.W., Room 5423
Washington, D.C. 20001-2866

      Re:   United States v. Couy Griffin, No. 22-3042
            Oral argument held December 4, 2023, before Judges Pillard,
            Katsas, and Rogers

Dear Mr. Langer:

       Pursuant to Federal Rule of Appellate Procedure 28(j), the
government writes to provide the Court with an updated list of related
cases raising “the same or similar issues.” D.C. Cir. R. 28(a)(1)(C). This
list is provided to the best of the undersigned’s knowledge.

     The question whether the “knowingly” mens rea in 18 U.S.C.
§ 1752(a)(1) requires knowledge of a Secret Service protectee’s presence
within the restricted area has been raised in the following cases:

  •   United States v. Celentano, No. 24-3016
  •   United States v. Christie, No. 23-3234
  •   United States v. St. Cyr, No. 23-3174
  •   United States v. Strand, No. 23-3083
USCA Case #22-3042   Document #2072856      Filed: 09/03/2024   Page 2 of 3



      In Christie, which is fully briefed and ready to be scheduled for
argument, the government made the argument that the protectee’s
presence is a jurisdictional element, the argument that Griffin has
argued is forfeited in this case. See 3/28/24 Letter, United States v.
Griffin, No. 22-3042. The other cases have not yet been fully briefed.

      The following cases are being held in abeyance pending a decision
in this case:

  • United States v. Fitzsimons, No. 23-3123
  • United States v. Mlynarek & Balhorn, Consolidated Nos. 24-3040 &
    24-3035
  • United States v. Rahm, No. 23-3012
  • United States v. Rhine, No. 23-3168
  • United States v. Roche, No. 23-3094
  • United States v. Seefried, No. 23-3024
  • United States v. Sheppard, No. 23-3164

     The question whether the evidence was sufficient to show that the
Capitol and its grounds were still “restricted” when the defendant
entered has been raised in Christie, United States v. Ballenger & Price,
Consolidated Nos. 23-3198 & 23-3199, and United States v. Doolin, No.
23-3133.




                                   2
USCA Case #22-3042   Document #2072856     Filed: 09/03/2024   Page 3 of 3



                                Respectfully submitted,

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                                       /s/
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